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   EXHIBIT 2
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                          DECLARATION OF JENNIFER LODGE

       I, Jennifer Lodge, declare as follows:

1.     I am the Vice President for Research & Innovation and Professor of Molecular Genetics

and Microbiology at Duke University (“Duke”) in Durham, North Carolina. I have held that

position since January 2022. Before coming to Duke, I served as the Vice Chancellor for Research

and Senior Associate Dean for Research for the School of Medicine at Washington University in

St. Louis. My research has been funded continuously by NIH for more than two decades.

2.     As Vice President for Research & Innovation, I have personal knowledge of the contents

of this declaration, or have knowledge of the matters based on my review of information and

records gathered by Duke personnel, and could testify thereto.

3.     Duke University receives substantial annual funding from the National Institutes of Health

(“NIH”). In Duke’s 2024 fiscal year (“FY2024”), which ran from July 1, 2023 through June 30,

2024, Duke held approximately 2,800 individual NIH awards, providing expenditures of

approximately $610M in direct costs and $258M in indirect costs (also known as “Facilities and

Administrative costs” or “F&A costs”). An indirect rate cap of 15% on all NIH awards to Duke in

FY2024 would have resulted in approximately $193M of lost research funding, and a reasonable

prediction is that a 15% cap on NIH F&A costs would have immediate impacts of a similar

magnitude. These vital funds supported groundbreaking biomedical research that Duke committed

to the NIH to perform and that the NIH committed to fund. These NIH awards were made after

significant evaluation, are highly competitive, and the research budgets are carefully reviewed by

the NIH prior to making the award. Duke also spends substantial funds of its own to further support

the NIH sponsored research. In FY2024, Duke provided approximately $239M of its own funds




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to support Duke research which, proportional to Duke’s sponsored research portfolio, is

approximately $186M of Duke funds to support NIH-associated research.

4.     The funding that Duke receives from the NIH supports critical and cutting-edge medical

research, which millions of Americans benefit from and depend on. For example:

       a.     Duke is a world leader in cancer research, including cancer prevention and control,

       precision cancer medicines, cancer detection, neuro-oncology, and immuno-oncology.

       NIH-funded cancer research projects at Duke range from basic science studying the cells

       that cause cancer to active clinical trials of new therapies that change the outcome from

       death sentences to curable diseases. Here are just two examples of cancer research

       supported over the years by NIH funding to Duke:

                      i. Metastatic breast cancer: Investigators at Duke have developed an

                         exciting new treatment for patients with metastatic breast cancer for

                         whom all traditional treatments have failed. Elacestrant was approved

                         by the FDA in 2023 and is showing enormous promise in patients.

                      ii. Brain cancer: Just this year the FDA approved a new drug specifically

                         targeted against brain tumors called low-grade gliomas. The drug,

                         vorasidenib, delays the progression of low-grade gliomas with specific

                         genetic mutations, representing one of the most successful therapies in

                         prolonging survival of brain tumor patients.

       b.     Duke’s pediatrics research is giving kids a better chance at a healthy life. Duke

       researchers are finding new ways to help babies, children, and teenagers overcome serious

       illnesses and Duke is a leader in the development of treatments for inherited diseases that

       have historically been untreatable. Duke’s NIH-funded research has led to advancements




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in Pompe’s disease, thymus transplantation in DiGeorge syndrome, and Krabbe’s disease.

Duke leads the NIH-funded Pediatric Trials Network (PTN), which focuses on making

medications safer and more effective for all children. Under the Best Pharmaceuticals for

Children Act (BPCA), the PTN works to provide the Food and Drug Administration (FDA)

with information to inform label changes with the necessary information to prescribe the

most appropriate doses of the medications to children. As a result of the research conducted

by the PTN to date, prescribing information and label changes have been made for twenty

medications and two devices. Duke’s sustained work on NIH-funded pediatric studies

means more children across America will grow up healthy and reach their full potential.

c.     At this critical time, NIH-funded Duke researchers are tackling diseases like

Alzheimer’s Disease and other diseases of the brain and the nervous system, such as

epilepsy, stroke, and cerebral palsy. To capitalize on emerging technologies, the Duke-

UNC Alzheimer’s Disease Research Center, a national leader in developing early

diagnostic approaches, is developing an understanding of Alzheimer’s root causes. As the

population in the United States ages, this critical research will help older Americans stay

healthy longer through more effective management strategies, new diagnostics, and new

therapeutics that will treat age-related diseases impacting millions of families.

d.     Duke is a leader in designing and implementing innovative clinical trials and

speeding drugs to market. Duke’s physician-scientists expertly manage all aspects of

studies, from first in human to marketable drugs. For example, Duke is a leader in an NIH-

funded cholesterol-lowering study, (the PREVENTABLE Study), which will evaluate the

impact of statin drugs in 20,000 community-dwelling adults aged ≥75 years.

PREVENTABLE represents a multi-agency collaboration involving the NIH, the National




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       Patient-Centered Clinical Research Network (PCORnet), the Veterans Affairs system, and

       independent health systems to address the leading cause of death in adults.

       e.     NIH-funded research at Duke is developing a universal flu vaccine to protect

       against all flu strains and eliminate the need for annual shots with varying effectiveness. In

       addition, Duke researchers are working hard on furthering our understanding of avian flu

       and developing a vaccine, which is especially crucial now as avian flu spreads to livestock

       and humans. This NIH-funded research is essential to our national security to protect our

       food supply and public health.

5.     Facilities and Administrative costs are essential for research. The NIH’s proposal to

significantly cut F&A cost reimbursement to 15% would devastate the important research

described in Paragraph 4. Duke faithfully accounts to the Department of Health and Human

Services (“HHS”) for these F&A expenses, and only costs that are directly allocable to sponsored

research facilities and administration are included. Duke’s F&A rate is negotiated with HHS

approximately every four years and the proposed rate is carefully examined and audited by the

Federal government. Duke relies on its longstanding partnership with the Federal government,

including HHS and NIH, to support the actual costs that are recovered through Duke’s F&A rate

to complete funded research and meet the associated federal requirements.

6.     Facility and Administrative (F&A) costs include costs such as:

       a.     operating and maintaining research facilities with specialized heat, lighting,

       vacuum, and purified water systems, as well as hazardous waste disposal and security to

       ensure that biohazards, radioactivity and chemicals are securely used, stored and disposed;




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        b.     upgrading existing lab facilities where NIH sponsored research occurs, to ensure

        that the plumbing, electric, HVAC, and safety facilities in our laboratories are up to code

        and safe for Duke researchers and support staff;

        c.     building new facilities to perform NIH sponsored research;

        d.     information technology (“IT”) networks, high performance computing facilities,

        and data storage facilities, that enable researchers to analyze large amounts of data, store

        health data in a secure environment when required, and share certain data to enable other

        researchers as required by the NIH;

        e.     over 75 core service facilities, which include high-end equipment and facilities that

        no single investigator or project could afford to purchase and maintain, and provide

        efficiencies across NIH-funded projects; and

        f.     offices that have been put in place to fulfill federally mandated requirements, such

        as human subject and animal protections, conflict of interest, data security, scientific

        integrity, financial accounting and auditing, and export controls.

7.      Cutting edge biomedical research that is performed at Duke, such as described in Paragraph

4, requires:

        a.     highly specialized equipment that requires procurement, maintenance, repair and

        replacement partially supported by F&A cost reimbursement. This includes equipment

        such as chemical hoods, centrifuges, PCR machines, electrophoresis equipment,

        microscopes, genomic sequencing equipment, chromatography systems, autoclaves,

        explosion-proof refrigerators and freezers, incubators, and mass spectrometers.

        b.      advanced computational resources, involving high-performance and ultra high-

        speed computing, secure and protected data networks which are essential for the protection




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       of data. Clinical and genomic data is stored in highly secure environments to ensure the

       privacy of individuals, and many NIH research projects require secure access to Duke

       Health patients’ clinical and genomic data.

       c.     managing and conducting clinical trials requires access to appropriate space,

       clinical equipment and laboratories to perform testing and assessments, and access to

       secure data environments, networks, and data storage. Duke maintains Good

       Manufacturing Practice (GMP) facilities to ensure the safe formulation and production of

       investigational drugs and biologics for human use. Clinical trials also undergo rigorous

       oversight by program assurance personnel to ensure that the trial is conducted according to

       approved protocols and requirements.

8.     Physical space is one of the largest components of F&A costs, and the amount of space

available to researchers has a direct and obvious impact on the amount of research that can be

conducted at Duke. A reduction of the reimbursement of the negotiated F&A rate would jeopardize

needed upgrades and maintenance of research space, putting the funded research at risk. A roof or

pipe leak can destroy hundreds of thousands of dollars of equipment, on-going experiments, and

irreplaceable samples. Duke currently has several research buildings that house NIH-funded

researchers that are scheduled for major infrastructure upgrades and would have to be shuttered

without these upgrades. As a direct result of the proposed NIH F&A rate cap, Duke has halted

renovation planning for five research facilities that would be decommissioned over the next two

years if a 15% F&A rate is applied. A reduction of functional and safe laboratory space would

significantly impede the ability of Duke’s researchers to carry out NIH-funded research projects,

creating great harm to Duke’s research mission.




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9.     In addition, F&A costs fund the administration of NIH awards, including staff who ensure

compliance with a vast number of regulatory mandates from agencies such as NIH. These

mandates serve many important functions, including protecting human and animal subjects

involved in research, ensuring research integrity, properly managing and disposing of chemical

and biological agents used in research, managing financial conflicts of interest, administering and

auditing funds, protecting intellectual property, preventing export controlled knowledge from

being inappropriately accessed by foreign adversaries, and providing the high level of

cybersecurity, data storage, and computing environments mandated for regulated data.

10.    If—contrary to the 61.5% indirect cost rate Duke has negotiated with the Federal

government—the indirect cost rate is reduced to 15%, this reduction will have deeply damaging

effects on Duke University’s ability to conduct research from day one. Duke’s NIH-funded

research expenditures have increased annually for each of the past four years and a 15% F&A rate

cap on all NIH awards to Duke in FY2024 would have resulted in approximately $193M of lost

research funding. Most critically, an F&A rate cap will necessarily and immediately result in large

staffing reductions across the board. Duke has estimated that these reductions in F&A recovery

would result in the loss of hundreds and, very likely, thousands of jobs in the coming months,

which would harm Duke’s ability to conduct currently funded NIH projects and ensure that the

research is done with safety, integrity and compliance to the federal regulations and requirements.

These specially trained personnel cannot necessarily be rehired in the future, and to even attempt

to replace them would require substantial additional effort and cost in recruitment and training,

which would in turn take time and money away from other work.

11.     Duke University has for decades worked closely with the Federal government on research

budgeting and planning in our shared goal of producing world-class research. Operating budgets




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are built on an estimate of both direct and indirect sponsored funding to plan for annual staffing

needs (e.g., post-docs, PhD students, and other research staff), infrastructure support (e.g., IT

networks, regulatory compliance, and grant management support), equipment purchases, and

facility operation and maintenance.

12.       Disruptions to Duke’s research will negatively affect the Durham area, the Research

Triangle region, and the State of North Carolina. Duke is the largest employer in Durham County

and the second largest private employer in North Carolina. Approximately 47,000 North Carolina

residents are directly employed by Duke University and Duke University Health System—and

both entities collaborate with state and local partners, including North Carolina state universities

and nonprofit research enterprises such as the Research Triangle Institute (RTI), to help solve

regional challenges through joint research and innovation. Duke’s research also fuels spending in

the regional economy, including by driving discoveries that launch new ventures, attract private

investment, and make a positive social impact. Duke personnel and inventions have launched 126

active start-ups which raised over $2.4B in funding in the past five years. Over 65% of Duke start-

ups in the past five years have been located in North Carolina and a massive reduction in Duke’s

research budget would immediately and seriously jeopardize these contributions to the local

region.

13.       Finally, slowdowns or halts in research by Duke and other American universities creates a

serious risk that competitor nations that are maintaining their investments in research will surpass

the United States on this front, threatening both our Nation’s national security, research and

development excellence, and its economic competitiveness. Offers of employment to our NIH-

funded investigators from institutions in other countries will be highly attractive, and we will lose

our best and brightest scientists to other nations.




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14.    While Duke maintains an endowment, it is neither feasible nor sustainable for Duke to use

endowment funds or other revenue sources to offset shortfalls in indirect cost recovery, for several

reasons:

       a.      The majority of Duke’s endowment—around 72%—is restricted to specific donor-

       designated purposes, such as scholarships, faculty chairs, and academic programs. Duke is

       not legally permitted to use those funds to cover research infrastructure costs.

       b.      In addition, those endowment funds were donated to Duke with the intention of

       permanently funding Duke’s activities. Fiduciary standards limit the amount of funds

       available to be spent on the designated purposes to approximately 4-6% per year of the

       value of the endowment depending on investment performance.

       c.      As a non-profit institution, Duke reinvests nearly all of its revenue into mission-

       critical activities, leaving little margin to absorb unexpected funding gaps.

15.    The immediate impacts of a proposed 15% indirect rate cap are substantial and irreversible.

The short-term budget impacts of the proposed 15% rate cap would require urgent action at Duke

to ensure financial stability and would result in the loss of lifesaving research, current and future

scientists and trainees, and international competitiveness in health sciences. In addition, the

Research Triangle region and North Carolina would experience a very negative economic impact.

       I declare under penalty of perjury that the foregoing is true and correct.

               Executed on February 18, 2025, at Durham, North Carolina.


                                              /s/ Jennifer Lodge
                                              _____________________________________
                                              Jennifer Lodge




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